       Case 19-13861-ABA Doc 11 Filed 03/11/19 Entered 03/11/19 14:29:07
CXE 18-021914                                                                                    Desc Main
Shapiro & DeNardo, LLC           Document    Page 1 of 2
14000 Commerce Parkway, Suite B
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(856)793-3080
Krystin M. Kane - 171402015
Kathleen M. Magoon - 040682010
Donna L. Skilton - 013072007
Charles G. Wohlrab - 016592012
Courtney A. Martin - 098782016
Elizabeth L. Wassall - 023211995
Jeffrey Rappaport - 003431991
Kristen D. Little - 017411997
ATTORNEYS FOR NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
 IN RE:                           UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEW JERSEY
 SALVE J CHIPOLA JR., DEBTOR
                                  CASE NO.: 19-13861-ABA
                                  CHAPTER 7


                     NOTICE OF MOTION TO VACATE THE AUTOMATIC STAY

TO:       Andrew Sklar, Trustee
          1200 Laurel Oak Road
          Suite 102
          Voorhees, NJ 08043

          Salve J Chipola Jr., Debtor
          1405 Mayslanding Road
          Millville, NJ 08332

Nationstar Mortgage LLC d/b/a Mr. Cooper has filed papers with the court requesting relief from the Automatic
Stay.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

If you do not want the court to grant relief from the Automatic Stay to Nationstar Mortgage LLC d/b/a Mr.
Cooper with regard to your property located at Lot 15 Block 86
Commonly Known as 133-135 East Commerce Street a/k/a 133-135 E Commerce Street, Bridgeton, New
Jersey 08302 or if you want the court to consider your views on the motion, then on or before
  April 2, 2019
______________________,      you or your attorney must:

File a written response in opposition to this motion explaining your position and send to:

Clerk of the United States Bankruptcy Court
Mitchell H. Cohen U.S. Courthouse
400 Cooper Street
Camden, NJ 08101

If you mail your response to the court for filing, you must mail it early enough so the court will receive it on or
before the date stated above.
     Case
You must also19-13861-ABA
              mail a copy to: Doc 11       Filed 03/11/19 Entered 03/11/19 14:29:07            Desc Main
                                           Document     Page 2 of 2
Charles G. Wohlrab, Esquire
Shapiro & DeNardo, LLC
14000 Commerce Parkway, Suite B
Mount Laurel, NJ 08054

Andrew Sklar, Trustee
1200 Laurel Oak Road
Suite 102
Voorhees, NJ 08043

                                                          April 9, 2019
Additionally, you must attend the hearing scheduled for _____________________________,     10:00 am
                                                                                       at _____________
in Courtroom _____,

United States Bankruptcy Court
Mitchell H. Cohen U.S. Courthouse
400 Cooper Street
Camden, NJ 08101

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in
the motion and may enter an order granting that relief.


Date: 3/8/19                         Signature /s/ Charles G. Wohlrab
                                                Charles G. Wohlrab, Esquire
                                                Shapiro & DeNardo, LLC
                                                14000 Commerce Parkway, Suite B
                                                Mount Laurel, NJ 08054
